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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

BRYAN K. BRADDOCK,

Plaintiff,                                           Case No. 4:19-cv-01545

        v.

JUST ENERGY GROUP INC. d/b/a JUST
ENERGY TEXAS L.P.,

Defendant.

                                    NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE BRYAN K. BRADDOCK (“Plaintiff”) hereby notifies the

Court that the Plaintiffs and Defendant have settled all claims between them in this matter and

are in the process of completing the final closing documents and filing the dismissal. The

Parties anticipate this process to take no more than 60 days and request that the Court retain

jurisdiction for any matters related to completing and/or enforcing the settlement. The Parties

propose to file a stipulated dismissal with prejudice within 60 days of submission of this

Notice of Settlement and pray the Court to stay all proceedings until that time.


Respectfully submitted this 16th day of August 2019.




                                                       s/ Taxiarchis Hatzidimitraidis
                                                       Taxiarchis Hatzidimitriadis, #6319225
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                                                       2500 S. Highland Avenue, Suite 200
                                                       Lombard, IL 60148
                                                       (630) 575-8181
                                                       thatz@sulaimanlaw.com
                                                       Attorney for Plaintiff



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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of

record.


                                                              s/ Taxiarchis Hatzidimitraidis
                                                              Taxiarchis Hatzidimitriadis




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